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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT



GREGORY L. GIBSON,              :
                                :               CIVIL ACTION NO.: 3:21-cv-00593-CSH
           Plaintiff,           :
                                :
v.                              :
                                :
HENKEL OF AMERICA, INC.; HENKEL :
OF AMERICA RETIREMENT PLAN;     :
LOCTITE CORPORATION; TEROSON, :
INC., PARKER & AMCHEM; HENKEL :
TECHNOLOGIES; HENKEL AG & CO., :
KGaA; HENKEL ASIA-PACIFIC LTD.; :
and HENKEL (CHINA) INVESTMENT   :                FEBRUARY 2, 2022
COMPANY, LTD.,                  :
                                :
           Defendants.          :


                               NOTICE OF APPEARANCE

       Please enter the appearance of Theodore J. Tucci of Robinson & Cole LLP as counsel for

defendants Henkel of America, Inc. and Henkel of America Retirement Plan in the above-

captioned case.

                                          Respectfully submitted,

                                          DEFENDANTS,
                                          HENKEL OF AMERICA, INC. and
                                          HENKEL OF AMERICA RETIREMENT
                                          PLAN

                                          By: /s/ Theodore J. Tucci
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                                       CERTIFICATION

       This is to certify that a copy of the foregoing was filed electronically on this the 2nd day of

February, 2022. Notice of this filing shall be sent by e-mail to all parties by operation of the

Court’s electronic filing system and parties may access this filing through the Court’s system.



                                                     /s/ Theodore J. Tucci
                                                       Theodore J. Tucci




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